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 1                        District Court of the United States
 2                                      for the
 3                          Central District of California
                                                                              NOV 24 2023
 4                                                          ) Case No.:
                                                            )
 5   Kristen0LFKHOOH/HH Joseph,                           )                rsm

                                                            )
 6                                                          )
                       Plaintiffs,
                                                            )
 7   v.                                                     ) 2:23-CV-09991-SVW-E
     Los Angeles County, et. al.                            )
 8                                                          )
                                                            )
 9                     Defendants.                          )
                                                            )
10                                                          )
                                                            )
11                                                          )
                                                            )
12                                                          )
                                                            )
13

14        Motion to Proceed with Fees filed under 46 USC 10314 in lieu of in forma paupuris
15

16   To the Court and Clerk of the Court,
17            I am raising this brief as a Seaman as per Title 46 of the United States Code as it appears
18   such is proper. I say that as it appears the Birth Certificate that names me with my name in all
19   Capital Letters is a form of document that moves me into the commercial realm even though I
20   was not fully aware of such until recently and that apparently has an effect on the case. It appears
21   that it is thereby and for which I am being treated as a ³Seaman´ HYHQ LI WKDW PLJKW EH FOHDU
22   prima facia. So, it appears that I am under Admiralty Law as per this and have the right to certain
23   fees being waved under 46 USC 10314. I assert this as it appears that I am able to waive the
24   filing fee under this. Also, it appears to allow me to have a better status in the litigation.
25            I am raising this because in admiralty, I need to be able to raise all the proper offences
26   and defenses I can to make the best argument to properly advance my interests in this case. In
27   Article IV of the Articles of Confederation delineates various statuses that can be had as an
28   individual. One segment states directly:
                                                      1
                                     Rearrangement of Fee Agreement
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 1       ³The better to secure and perpetuate mutual friendship and intercourse among the

 2       people of the different States in this Union, the free inhabitants of each of these States,

 3       paupers, vagabonds and fugitives from justice excepted, shall be entitled to all
 4       privileges and immunities of free citizens in the several States;´
 5          So, I do not wish to willingly place myself in ³Pauper´status by filing out the in Forma
 6   Pauperus. If I am a Seaman as it appears, then I need to assert such plainly and accordingly.
 7   Now, there are those who argue that the Articles of Confederation have been replaced by the

 8   Constitution of the United States. That is a common belief. However, Clause 13 denotes the
 9   process of Amending requires the votes of the original 13 states. The Constitution for the United
10   States only has 12 states signing on. It appears that Rhode Island never signed, which is not only
11   significant, but it is more likely the case that the Articles of Confederation are the Articles of
12   Incorporation and that makes the Constitution the bylaws. This in turn means the Articles of
13   Confederation are a superior law to the Constitution. Ultimately, I may be wrong, but I believe
14   this line of reason is important. I believe it is correct. If the court deems me wrong, it may strike

15   this pleading on its own accord, but I believe it is correct.
16          I fortify my position citing liberally from a case decided by the Supreme Court of the
17   United States that was in Admiralty in part: Robertson v. Baldwin, 165, U.S. 275 (1897):
18       The further suggestion is made that seamen have always been treated, by legislation
19       in this country and in England, as if they needed the protection of the law in the
         same sense that minors and wards need the protection of parents and guardians, and
20       hence have been often described as "wards of admiralty." [Page 165 U. S. 299]
         Some writers say that seamen are in need of the protection of the courts "because
21       peculiarly exposed to the wiles of sharpers and unable to take care of themselves." 2
         Parson, Shipp. & Adm. 32. Mr. Justice Story, in Harden v. Gordon, 2 Mason 541,
22
         555, said that"every court should watch with jealousy any encroachment upon the
23       rights of seamen, because they are unprotected and. . .

24       Mr. Justice Thompson, in The Cadmus v. Matthews, 2 Paine 229, 240, said:"In
         considering the obligation of seamen, arising out of their contract in shipping
25       articles, according to the formula in common use, due weight ought to be given to
         the character and situation of this class of men. Generally ignorant and improvident,
26
         and probably very often signing the shipping articles without knowing what they
27       contain, it is the duty of the court to watch over and protect their rights, and apply
         very liberal and equitable considerations to the enforcement of their contracts."
28       Robertson v. Baldwin Supra at 298 to 299, emphasis supplied.
                                                      2
                                     Rearrangement of Fee Agreement
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 1           I seek injunctive relief as it appears the court I was brought into held unlawful hearings

 2   with no basis and they were taking advantage of my lack of knowledge of the law. The person

 3   bringing the case did not have ownership or assigned rights on the property. The Court never

 4   dropped the matter and I learned they were holding sham hearings. So, my status and the

 5   authorities above need to be taken into account. If the Court in review finds this incorrect or in

 6   error, I have entered an in forma paupuris and I suppose the court can proceed with that.

 7   However, there seems to be an issue with in Forma Paupuris as that appears it diminishes my

 8   standing in this court. I ask to retain all rights as well. I attest to what I have written.

 9           Please alert me to the decision of the court in this matter.

10                                           Respectfully submitted,

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             1RYHPEHU       By: _______________________________
13                                          Kristen0LFKHOOH/HH Joseph
                                            5434 Premiere Ave. Lakewood
14                                          California [90712]
                                            Tel. (562) 314-8111
15                                          PRPP\DQGZULJOH\#JPDLOFRP

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                                     Rearrangement of Fee Agreement
